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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                        Case No. 10-cr-26-03-PB

Lee Brown, et al.

                                   ORDER


     The defendant has moved through counsel to continue the trial

scheduled for February 1, 2011 as he has sought admittance to the

LASER docket and finalize plea negotiations.           The government does

not object to a continuance of the trial date.

     Accordingly, for the reasons set forth in defendant’s motion

and to allow time for the parties to properly prepare for trial,

the court will continue the trial from February 1, 2011 to March

8, 2011.   In agreeing to continue the trial, the court finds pursuant

to 18 U.S.C.A. ' 3161(h)(7)(A) that for the above-stated reasons,

the ends of justice served in granting a continuance outweigh the

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best interests of the public and the defendants in a speedy trial.

      The January 18, 2011 final pretrial conference is continued

to February 25, 2011 at 2:00 p.m.

      SO ORDERED.


                                          /s/Paul Barbadoro
                                          Paul Barbadoro
                                          United States District Judge


January 13, 2011


cc:   Douglas Miller, Esq.
      Michael Iacopino, Esq.
      Jennifer Davis, AUSA
      United States Probation
      United States Marshal




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